       Case 1:24-cv-00367-LJL        Document 152       Filed 07/07/25       Page 1 of 1


                                                                  1133 Avenue of the Americas
                                                                  Suite 1500
                                                                  New York, New York 10036


                                                                  (212) 316-9500
                                                                  rkaplan@kaplanmartin.com



                                                                         July 7, 2025

BY CM/ECF

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

                  Re:    Chan v. U.S. Dep’t of Transp., No. 23 Civ. 10365 (S.D.N.Y.) (“Chan”);
                         Mulgrew v. U.S. Dep’t of Transp., No. 24 Civ. 1644 (S.D.N.Y.)
                         (“Mulgrew”); New Yorkers Against Congestion Pricing Tax v. U.S.
                         Dep’t of Transp., No. 24 Civ. 367 (S.D.N.Y.) (“New Yorkers”)

Dear Judge Liman,

        We write on behalf of Defendants the Metropolitan Transportation Authority and
Triborough Bridge and Tunnel Authority pursuant to Federal Rule of Civil Procedure 58(d) to
respectfully request that the Court enter judgment in the above-referenced actions.

        The Court entered an Opinion and Order on June 20, 2024, dismissing Counts One and
Four of the New Yorkers complaint and granting summary judgment to Defendants on Count One
of the Chan complaint, see Chan, ECF 99 at 35-40, 42-43, 44-112, and entered a further Opinion
and Order on April 17, 2025, granting summary judgment to Defendants on Counts Two and Three
of the Chan and Mulgrew complaints and dismissing all of Plaintiffs’ remaining claims, Chan,
ECF 175 at 22-23, 97-98; see Fed. R. Civ. P. 58(b)(1)(C). Although the Chan and Mulgrew
Plaintiffs were given permission to replead certain claims, the time to do so has passed. Chan,
ECF 178; Mulgrew, ECF 162.

                                                   Respectfully submitted,




                                                   Roberta A. Kaplan

cc: Counsel of Record (via ECF)
